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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


PRESIDENT DONALD J. TRUMP,
an individual, and REPRESENTATIVE
RONNY JACKSON, an individual,
                                                        Case No. 2:24-cv-00236-Z
                         Plaintiffs,

       v.

PARAMOUNT GLOBAL d/b/a
PARAMOUNT, a Delaware
corporation, CBS BROADCASTING
INC., a New York corporation, and CBS
INTERACTIVE INC., a Delaware
corporation,

                         Defendants.



                       JOINT PROPOSED SCHEDULING ORDER

       Pursuant to the Court’s Order regarding a joint proposed scheduling order, see ECF No.
31, and Orders extending the time to file a joint proposed scheduling order, see ECF Nos. 31, 33
& 35, the parties to this action jointly submit this Joint Proposed Scheduling Order.
        This report was compiled by Defendants based on the Rule 26(f) conference that took
place telephonically on February 11, 2025, with Plaintiffs and Defendants discussing their
positions. Lead counsel for Plaintiffs Edward Andrew Paltzik and lead counsel for Defendants
Elizabeth A. McNamara participated in the 26(f) conference. (Plaintiffs’ other counsel—Daniel
Z. Epstein and Chris D. Parker—and Defendants’ other counsel—Thomas C. Riney, Christopher
Jason Fenton, Marc Fuller, Jeremy Chase, and Alexandra Perloff-Giles—did not participate.)

  I.   Nature of the Case

Plaintiffs’ Statement: Under the guise of news, Defendants broadcast, posted online, and
streamed their heavily tampered interview (the “Interview”) with then-presidential candidate
Kamala Harris during their October 7, 2024 60 Minutes Election Special show. The Interview
was commercial speech calculated to drive profits and viewership for Defendants. Plaintiffs and
their constituents were subject to deception about candidate Harris and deprived of the accurate
media services that they paid for. Defendants heavily advertised and promoted the Interview,
including a preview segment the day before on Face the Nation. But the Interview that
consumers saw on 60 Minutes, online, and on Defendants’ streaming services, was a manipulated


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version of the actual Interview, with numerous answers altered or deleted to present an altogether
different version of Harris to consumers than what she really was. This manipulation of the
Interview was an act of unlawful competition against President Trump, actionable under the
Lanham Act, as he competes directly against Defendants in the digital media content creation
space through Truth Social and other media enterprises. Defendants’ manipulation was also an
act of consumer fraud against President Trump and Representative Jackson, actionable under the
Texas Deceptive Trade Practices Act, as they both acquired Defendants’ broadcast and digital
services, and like tens of millions of Americans, were confused and deceived by the manipulated
Interview. This is exactly the type of deceptive conduct that the Lanham Act and the Texas
Deceptive Trade Practices Act exist to protect against—the use of deceptive services targeting
consumers for profit. Plaintiffs, as two elected officials who were personally deceived by
Defendants, not only have standing, but are in the unique position of representing tens of
millions of constituents who were also deceived. Representative Jackson has standing personally,
and as the literal representative for his constituents within the 13th Congressional District, which
covers much of the Northern District of Texas. President Trump’s standing is also clear both
individually as a consumer and competitor, as Harris’s opponent in the 2024 Presidential
Election, and now as 47th President of the United States.

Defendants’ Statement: Plaintiffs bring claims under the Lanham Act and the Texas Deceptive
Trade Practices Act—both of which exclusively regulate commercial speech—but they challenge
editorial decisions made by two CBS news programs, Face the Nation and 60 Minutes,
concerning (in the words of the Amended Complaint) a “matter of particularly urgent public
interest.” The law is clear that consumers cannot exercise control over editing decisions by news
organizations. And the entire foundation for the action—that Defendants somehow “deceived” or
“doctored” the 60 Minutes interview of the Vice President—is belied by the complete transcripts
included in the Amended Complaint. In other words, as the Supreme Court has made clear, the
action violates the First Amendment by interfering with Defendants’ constitutionally protected
freedom to make such editorial judgments. Nor have Plaintiffs pled the basic elements of either
claim. As to the Lanham Act claim, they fail to plausibly allege that Defendants’ news
programming is “commercial advertising or promotion,” that Defendants made any specific and
material misrepresentation of fact, or that Plaintiffs suffered an injury to a commercial interest in
reputation or sales. As to the DTPA claim, they fail to allege that they purchased goods or
services from Defendants, that Defendants performed any false, misleading, or deceptive act
within the meaning of the statute, or that Plaintiffs detrimentally relied on any alleged
misrepresentation by Defendants. Finally, Plaintiffs lack standing because they have not suffered
any concrete and particularized injury caused by Defendants and redressable by this Court. Even
if there were particularized harm, it would be to Trump Media & Technology Group in the case
of the Lanham Act claim and to President Trump’s campaign apparatuses in the case of the
DTPA claim—not to President Trump individually. Plaintiffs do not allege any injury
whatsoever to Representative Ronny Jackson, who has plainly been added in a vain attempt to
create a nexus to the forum (and who in any event agreed to arbitrate this claim).

 II.   Basis for Jurisdiction

Plaintiffs’ Statement: This Court clearly has both personal jurisdiction and subject-matter
jurisdiction, and venue is also proper. As an initial matter, each of the Defendants transacts



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substantial business in Texas and in this District, employs numerous individuals in Texas and in
this District, and consistently target Texas consumers not only for their broadcast services, but
also online and streaming services including Paramount+ and on YouTube. Defendants also
maintain numerous CBS affiliates in Texas and in this District, including by way of example
KTVT, KTXA, and KFDA. Defendants even brand KTVT as “CBS News Texas.” Moreover, as
stated above, Representative Jackson is not only a citizen of Texas, but is the Congressman for
the 13th Congressional District, which embraces much of the Northern District of Texas and is
situated entirely within this judicial District; President Trump’s media holdings also derive a
substantial amount of their profit from Texas. There is a clear affiliation between Texas and the
underlying controversy, as Defendants targeted their deceptive services toward the State and this
District as among the leading media markets and population bases in America.

Defendants’ Statement: This Court lacks both personal jurisdiction and subject-matter
jurisdiction. As to personal jurisdiction, there is no general jurisdiction. CBS Broadcasting Inc. is
incorporated in New York and has its principal place of business there. CBS Interactive Inc. and
Paramount Global are both incorporated in Delaware and have their principal place of business
in New York. Nor is there specific jurisdiction: Defendants did not specifically and knowingly
aim their conduct at Texans more than at residents of other states; there is no affiliation between
Texas and the underlying controversy; and Fifth Circuit law makes clear that it would unduly
burden media outlets whose content is available nationally to be haled into court in Texas on the
mere fact that their content is available in Texas as in everywhere else in the country. (If Texas’s
sizeable “population” meant any publication distributed nationally was “targeted” at Texas, there
would always be jurisdiction in states like Texas, New York, and California. That is not the law.)
As to subject-matter jurisdiction, as noted above, Plaintiffs lack constitutional standing to bring
this case. Even if there were jurisdiction, venue is improper in this District because a substantial
part of the events or omissions giving rise to the claim did not occur in the Northern District of
Texas; the interview with Vice President Harris was filmed and edited entirely outside Texas,
and Plaintiffs do not even allege that they watched the interview in Texas. If the complaint is not
dismissed for lack of jurisdiction or improper venue, it should be transferred to the Southern
District of New York.

III.   Likelihood of Joinder

       The parties do not anticipate joining additional parties at this time, but do not rule out
       joinder depending on information adduced during discovery.

IV.    Proposed Deadlines

Joinder of other parties                           March 14, 2025
Designation of expert witnesses by parties         September 5, 2025
seeking affirmative relief
Expert disclosures by parties seeking              September 19, 2025
affirmative relief
Designation of expert witnesses by parties         October 3, 2025
opposing affirmative relief
Expert disclosures by parties opposing             October 17, 2025


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affirmative relief
Designation of rebuttal expert witnesses          October 31, 2025
Objections to experts (e.g., Daubert motions)     November 19, 2025
Amendment of pleadings                            September 5, 2025
Mediation (if any)                                December 20, 2025
Completion of discovery                           December 20, 2025
Filing of dispositive motions, including          February 18, 2026
motions for summary judgment
Filing of protective order (if agreed upon)       March 14, 2025
Filing of Rule 26(a)(3) pretrial disclosures      July 2, 2026

 V.    Positions on Rule 26(f)(3)(A)-(F) Matters

   A. The parties agree to serve initial disclosures by March 14, 2025. Those initial disclosures
      will include the name and, if known, the address and telephone number of each individual
      likely to have discoverable information—along with the subjects of that information—
      that the disclosing party may use to support its claims or defenses, as well as a
      computation of Plaintiffs’ damages and a description of the categories of documents that
      may be used to support the parties’ claims or defenses. At an appropriate time after the
      entry of an appropriate protective order and during discovery, Defendants will provide
      information regarding any insurance agreements that they reasonably believe may satisfy
      all or part of a judgment.

   B. Discovery

Defendants offered to stay discovery pending the decision on the motions to dismiss or transfer
the action. Plaintiffs declined to stay discovery and recognize that discovery is a reciprocal
process, but only to the extent Defendants’ discovery requests are relevant to any claims or
defenses at issue, and also with the understanding that Defendants’ discovery requests may be
barred or limited by executive privilege or other privilege. Defendants reserve the right to contest
Defendants’ assertion of objections on the grounds of relevance, privilege, or otherwise. The
parties agree that discovery should be completed by December 20, 2025.

Plaintiffs’ Position: Plaintiffs believe that discovery is needed to determine the full extent of
Defendants’ manipulation of the Harris interview and the Election Special program, their
knowledge that such manipulation was unlawful and not editorial in nature, their internal biases
and prejudices that lead them to distort content intended for consumers, their internal
communications about this deceptive programming, their coordination with third parties, their
efforts to commercialize and profit from their deception, and their animus against President
Trump. Discovery is also needed about the extent of Defendant’s business operations in Texas
and targeting of Texas consumers with the broadcast and digital services in question, particularly
in light of Defendants’ assertions that they are not amenable to jurisdiction in Texas. Plaintiffs
also believe discovery is needed about the manner in which Defendants treated the Harris
interview differently than other interviews, and why they were not transparent about the
manipulation of the interview until months after the Presidential Election and only after the



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Federal Communications Commission compelled them to disclose the unedited transcript of the
interview.

Defendants’ Position: Defendants believe discovery is needed into President Trump’s personal
financials, as well as the financials of Donald Trump’s 2024 campaign organizations and of
Trump Media & Technology Group, including with respect to Truth Social and the $TRUMP
meme crypto project. Defendants further anticipate that discovery will be needed into President
Trump’s legal relationship, if any, with the Donald J. Trump for President 2024 campaign and
the Trump Media & Technology Group. Discovery is also needed into, inter alia, whether
Plaintiffs have purchased goods or services from Defendants (and whether Rep. Jackson agreed
to arbitrate claims relating to CBS’ services); what confusion (if any) was created by the
interview and actions taken in connection with such confusion; whether Plaintiffs relied upon
any alleged misrepresentation in taking any action or failing to take any action; and the basis for
the damages alleged.

   C. Electronically Stored Information

       Electronically stored information shall be produced to the requesting party with
searchable text, e.g., in TIFF format with a companion text file, except that files not easily
converted to image format, such as Excel, video, or audio files shall be produced in native
format. Documents will be Bates-stamped and may be designated Confidential or Highly
Confidential / Attorney’s Eyes Only pursuant to the terms of a protective order that will be
prepared by the parties based on the Northern District of Texas Model Protective Order, with
appropriate modifications as agreed between the parties. The parties will also negotiate an ESI
protocol setting forth further details regarding the production of electronically stored
information.

   D. Privilege

        Defendants anticipate that there may be reporters’ privilege and attorney client privilege
or attorney work product issues. The parties will endeavor to confer and address any privilege
issues as they arise.

   E. Discovery

       The parties do not currently contemplate any changes to the limitations on discovery
under Rule 26.

   F. Other orders

       Pursuant to Rule 26(c), the parties will prepare a draft protective order based on the
Northern District of Texas Model Protective Order to be so-ordered by the Court, subject to the
Court’s approval.




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 VI.    Status of Settlement Negotiations

         As required by the federal rules, the parties have been in communication regarding
 settlement, and will advise the Court if they jointly agree that the case should be referred for a
 court-ordered alternative dispute resolution or a court-supervised settlement conference. The
 parties continue to consider alternative dispute resolution options.

VII.    “Ready-for-Trial” Date

       The case will be ready for trial in August 2026. The parties estimate that trial will last
 two weeks. Plaintiffs have requested a jury trial.

VIII.   Local Counsel

        Local counsel for Plaintiffs (Chris D. Parker) appeared on October 31, 2024. Local
 counsel for Defendants (Thomas C. Riney and Christopher Jason Fenton) appeared on November
 19, 2024.

 IX.    Certificate of Interested Persons

        Plaintiffs filed a certificate of interested persons on February 11, 2025.




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                                     /s/ C. Jason Fenton

                                     UNDERWOOD LAW FIRM, P.C.

                                     Thomas C. Riney
                                     State Bar No. 16935100
                                     C. Jason Fenton
                                     State Bar No. 24087505
                                     PO Box 9158 (79105-9158)
                                     500 S. Taylor, Suite 1200
                                     Amarillo, TX 79101
                                     Telephone: (806) 376-5613
                                     Facsimile: (806) 379-0316
                                     tom.riney@uwlaw.com
                                     jason.fenton@uwlaw.com

                                     JACKSON WALKER LLP

                                     Marc A. Fuller
                                     State Bar No. 24032210
                                     2323 Ross Ave., Ste. 600
                                     Dallas, TX 75201
                                     Telephone: (214) 953-6000
                                     Facsimile: (214) 953-5822
                                     mfuller@jw.com

                                     DAVIS WRIGHT TREMAINE LLP

                                     Elizabeth A. McNamara (admitted pro hac vice)
                                     Jeremy A. Chase (admitted pro hac vice)
                                     Alexandra Perloff-Giles (admitted pro hac vice)
                                     1251 Avenue of the Americas, 21st Floor
                                     New York, NY 10020
                                     Telephone: (212) 489-8230
                                     elizabethmcnamara@dwt.com
                                     jeremychase@dwt.com
                                     alexandraperloffgiles@dwt.com

                                     Attorneys for Paramount Global, CBS Broadcasting
                                     Inc., and CBS Interactive Inc.

                                     /s/ Edward Andrew Paltzik

                                     EDWARD ANDREW PALTZIK
                                     Texas Bar No. 24140402
                                     Bochner PLLC



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                                              1040 Avenue of the Americas
                                              15th Floor
                                              New York, NY 10018
                                              (516) 526-0341
                                              edwardb@bochner.law

                                              DANIEL Z. EPSTEIN
                                              Texas Bar No. 24110713
                                              1455 Pennsylvania Avenue NW
                                              Suite 400
                                              Washington, DC 20004
                                              (202) 240-2398
                                              dan@epsteinco.co

                                              CHRIS D. PARKER
                                              Texas Bar No. 15479100
                                              Farris Parker & Hubbard
                                              A Professional Corporation
                                              P. O. Box 9620
                                              Amarillo, TX 79105-9620
                                              (806) 374-5317 (T)
                                              (806) 372-2107 (F)
                                              cparker@pf-lawfirm.com

                                              Attorneys for Plaintiffs Donald J. Trump and Ronny
                                              Jackson


                               CERTIFICATE OF SERVICE

       I hereby certify that on February 18, 2025 a true and correct copy of the foregoing was

served via CM/ECF on all counsel of record.


                                              /s/ C. Jason Fenton




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